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                                UNITED STATES DISTRICT COURT
                                EASTERN DISTRICT OF LOUISIANA

IN RE: TAXOTERE (DOCETAXEL)                                    :      MDL NO. 2740
PRODUCTS LIABILITY LITIGATION                                  :
                                                               :      SECTION “N”(5)
                                                               :      JUDGE ENGELHARDT
                                                               :      MAG. JUDGE NORTH
Marie Elaine Cavan and Donald Cavan                   ,        :
                                                               :      COMPLANT & JURY DEMAND
         Plaintiff(s),                                         :
                                                               :      Civil Action No.:   17-17209
vs.                                                            :
                                                               :
                                                               :
Sanofi US Services Inc. et al                         ,        :
                                                               :
         Defendant(s).                                         :
-------------------------------------------------------------- :


                              AMENDED SHORT FORM COMPLAINT

        Plaintiff(s) incorporate by reference the Amended Master Long Form Complaint and Jury

Demand filed in the above-referenced case on March 31, 2017. Pursuant to Pretrial Order No.

15, this Amended Short Form Complaint adopts allegations and encompasses claims as set forth

in the Amended Master Long Form Complaint against Defendant(s).

        Plaintiff(s) further allege as follows:

1.         Plaintiff:
           Marie Elaine Cavan
2.         Spousal Plaintiff or other party making loss of independent/secondary claim (i.e., loss

           of consortium):
           Donald Cavan




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3.   Other type of Plaintiff and capacity (i.e., administrator, executor, guardian,

     conservator):
     N/A
4.   Current State of Residence:   Oregon
5.   State in which Plaintiff(s) allege(s) injury:   Oregon
6.   Defendants (check all Defendants against whom a Complaint is made):

     a.     Taxotere Brand Name Defendants

                     A.     Sanofi S.A.

                     B.     Aventis Pharma S.A.

             x       C.     Sanofi US Services Inc. f/k/a Sanofi-Aventis U.S. Inc.

             x       D.     Sanofi-Aventis U.S. LLC

     b.     Other Brand Name Drug Sponsors, Manufacturers, Distributors

                     A.     Sandoz Inc.

                     B.     Accord Healthcare, Inc.

                     C.     McKesson Corporation d/b/a McKesson Packaging

                     D.     Hospira Worldwide, LLC f/k/a Hospira Worldwide, Inc.

                     E.     Hospira, Inc.

                     F.     Sun Pharma Global FZE

                     G.     Sun Pharmaceutical Industries, Inc. f/k/a Caraco Pharmaceutical
                            Laboratories Ltd.
                     H.     Pfizer Inc.

                     I.     Actavis LLC f/k/a Actavis Inc.

                     J.     Actavis Pharma, Inc.




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                     K.        Other:




7.   Basis for Jurisdiction:

     x        Diversity of Citizenship

              Other (any additional basis for jurisdiction must be pled in sufficient detail as
              required by the applicable Federal Rules of Civil Procedure):




8.   Venue:

     District Court and Division in which remand and trial is proper and where you might
     have otherwise filed this Short Form Complaint absent the direct filing Order entered
     by this Court:
                                         Oregon District Court




9.   Brand Product(s) used by Plaintiff (check applicable):

     x        A.     Taxotere

              B.     Docefrez

              C.     Docetaxel Injection

              D.     Docetaxel Injection Concentrate

              E.     Unknown

              F.     Other:




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10.   First date and last date of use (or approximate date range, if specific dates are
      unknown) for Products identified in question 9:

          07/08/2008 - 09/09/2008




11.   State in which Product(s) identified in question 9 was/were administered:

          Oregon




12.       Nature and extent of alleged injury (including duration, approximate
          date of onset (if known), and description of alleged injury):

          Permanent loss of hair. Date of onset is after chemotherapy.
          Description is no hair regrowth for a majority scalp - alopecia.



13.       Counts in Master Complaint brought by Plaintiff(s):

           x    Count I – Strict Products Liability - Failure to Warn
           x    Count II – Strict Products Liability for Misrepresentation
           x    Count III – Negligence
           x    Count IV – Negligent Misrepresentation
           x    Count V – Fraudulent Misrepresentation
           x    Count VI – Fraudulent Concealment
           x    Count VII – Fraud and Deceit
           x    Count VIII – Breach of Express Warranty (Sanofi Defendants
                only)

                Other: Plaintiff(s) may assert the additional theories and/or
                State Causes of Action against Defendant(s) identified by
                selecting “Other” and setting forth such claims below. If
                Plaintiff(s) includes additional theories of recovery, for
                example, Redhibition under Louisiana law or state consumer
                protection claims, the specific facts and allegations supporting
                additional theories must be pleaded by Plaintiff in sufficient
                detail as required by the applicable Federal Rules of Civil
                Procedure.




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14.   Name of Attorney(s), Bar Number(s), Law Firm(s), Phone Number(s),
      Email Address(es) and Mailing Address(es) representing Plaintiff(s):

                                    By:
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